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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION                                                   ENTERED
                                                                                                     04/25/2019

IN RE:                                              §   CASE NO. 19-31275-H5-7
                                                    §
MICHAEL VEACH and CARLA                             §
VEACH,                                              §
   Debtor                                           §   CHAPTER 7
                                                    §
MIDFIRST BANK,                                      §
   Movant                                           §   HEARING DATE: 04/30/2019
                                                    §
v.                                                  §   TIME: 09:30 AM
                                                    §
MICHAEL VEACH and CARLA                             §
VEACH; and RANDY W.                                 §
WILLIAMS, Trustee                                   §
   Respondents                                      §   JUDGE Jeffrey P. Norman

     ORDER GRANTING RELIEF FROM AUTOMATIC STAY AFTER HEARING
                     (This Order Resolves Docket # 20)
                                                   )


             MIDFIRST BANK ("Movant") filed a motion for relief from the automatic stay
against

     1947 MCDONALD AVENUE
     NEW ALBANY, IN 47150

     LOT NO. ONE (1) AND THE WEST ELEVEN (11) FEET OF LOT NO. TWO (2) IN
     BLOCK FOURTEEN (14) ON MCDONALD AVENUE IN PLAT NO. 490, OF THE
     FLOYD COUNTY, INDIANA RECORDS.

(the “Property”). Movant represented to the Court that it had served the motion in accordance
with all applicable rules and provided notice of the hearing.

          ____________            Although a response opposing the motion was filed, the respondent
                                  did not appear at the hearing. Therefore, the response is overruled
                                  for want of prosecution and the motion is granted.

          ____________
          XXX                     The debtor filed a response that the debtor was not opposed to the
                                  requested relief and no other party opposed the requested relief.

          ____________            The debtor filed a response that the debtor was unable to admit or
                                  deny the allegations, the debtor failed to appear at the hearing, and
                                  no other party opposed the requested relief.
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        ____________              After hearing, and for the reasons stated on the record, relief from
                                  the stay is granted.

        ____________              No timely response was filed. Accordingly, the motion is granted
                                  by default.

        ____________              As shown by Debtor(s)’ counsel signature below, Debtor(s) have
                                  agreed to the requested relief.

         Accordingly, it is ordered that Movant is granted relief from the automatic stay to pursue
its state law remedies against the Property, including foreclosure, repossession and/or eviction.

        Additional rulings:


        ____________              Movant is awarded         attorneys   fees   in   the   amount      of
                                  $____________.

        ____________              The stay imposed by Bankruptcy Rule 4001(a)(3) does not apply
                                  for the reasons stated on the record.


               April
              April 25,06, 2018
                        2019




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